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                       UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF TEXAS
                           BROWNSVILLE DIVISION


STATE OF TEXAS, et al.,

                 Plaintiffs,

          v.                                  Case No. 18-cv-00068

KIRSTJEN M. NIELSEN, et al.,

                 Defendants,

and

KARLA PEREZ, et al.,

                 Defendant-Intervenors.


                     FEDERAL DEFENDANTS’ MOTION TO
                 QUASH DEPOSITION NOTICES AND SUBPOENAS




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                                STATEMENT OF THE ISSUE

       Whether Defendant-Intervenors have established good cause to justify early and

expedited discovery in the form of the depositions of Sarah Saldaña, former Director of U.S.

Immigration and Customs Enforcement (“ICE”), as a lay witness, proffered expert witnesses

Stephen H. Legomsky, former Chief Counsel of U.S. Citizenship and Immigration Services

(“USCIS”), and Gil Kerlikowske, former Commissioner of U.S. Customs and Border Protection

(“CBP”), and the proposed 30(b)(6) depositions of a designated representative of USCIS’s

employee union, the National Citizenship and Immigration Services Council (“NCISC”), and a

designated employee of USCIS.1 2

                             SUMMARY OF THE ARGUMENT

       The Court should deny Defendant-Intervenors’ fourth discovery motion seeking to

depose current and former federal government officials. Defendant-Intervenors fail to

demonstrate good cause to conduct these depositions that are not necessary to respond to

Plaintiffs’ motion for preliminary injunction, risk the disclosure of privileged information from

high level law enforcement and attorney officials, and duplicate information already available or

to be produced to Defendant-Intervenors.

                                           ARGUMENT

       Defendant-Intervenors have failed to establish good cause to justify early and expedited

discovery in the form of the depositions of Sarah Saldaña, former Director of U.S. Immigration


1
   Federal Defendants do not object to Defendant-Intervenors’ proposed use of deposition
transcripts from Donald Neufeld, the current associate director of Service Center Operations for
USCIS, and the prior declarations or deposition transcripts from other federal employees Michael
Hoefer, James McCament, and James D. Nealon.
2
 Defendant-Intervenors’ fourth discovery motion makes no mention of the proposed 30(b)(6)
deposition of a USCIS employee, which was sent to undersigned counsel on June 14, 2018, three
days before Defendant-Intervenors filed this motion.


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and Customs Enforcement (“ICE”), as a lay witness, proffered expert witnesses Stephen H.

Legomsky, former Chief Counsel of USCIS and Gil Kerlikowske, former Commissioner of CBP,

and the proposed 30(b)(6) depositions of a designated representative of USCIS’s employee

union, NCISC, and a designated employee of USCIS.

       Notably, in this fourth discovery motion, Defendant-Intervenors again fail to address

their burden to seek early and expedited discovery, which should be required given this Court’s

Order prohibiting discovery of Federal Defendants without leave of Court. Dkt. No. 53.

Defendant-Intervenors have done nothing to distinguish their current discovery requests

regarding Plaintiffs’ preliminary injunction motion from full-blown discovery, and they

inexplicably argue without citation that they “need not meet the good cause standard under Rule

26 where the Court has ordered that the parties apply to it for scheduled early discovery of

Federal Defendants.” Dkt. No. 91 at 9. Instead, this Court’s requirement that the parties obtain

permission from the Court to conduct discovery at this stage of the case comports with Fed. R.

Civ. P. 30(a)(2)(A)(iii), which states “[a] party must obtain leave of court . . . if the parties have

not stipulated to the deposition and . . . the party seeks to take the deposition before the time

specified in Rule 26(d). . . .” A party seeking expedited discovery has the burden of showing

good cause to justify such order. St. Louis Grp., Inc. v. Metals & Additives Corp., 275 F.R.D.

236, 240 (S.D. Tex. 2011), citing Qwest Commc'ns Int'l, Inc. v. WorldQuest Networks, Inc., 213

F.R.D. 418, 419 (D. Colo. 2003). Factors include, inter alia: (1) the harm alleged by the moving

party; (2) the specificity of the discovery request; (3) the absence of alternative means to obtain

the requested information; (4) the purpose of the expedited discovery request; and (5) the burden

on the party asked to comply with the requests. See, e.g., Combat Zone Corp. v. John/Jane Does




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1-2, No. 2:12-CV-00509, 2012 WL 6684711, at *1 (E.D. Tex. Dec. 21, 2012); St. Louis Grp.,

Inc., 275 F.R.D. at 240 (citations omitted).3

         Defendant-Intervenors have done nothing to explain how the discovery they seek is

specific or related to their opposition to Plaintiffs’ motion for preliminary injunction. See, e.g.,

OrthoAccel Technologies, Inc. v. Propel Orthodontics, LLC, Case No. 4:16-cv-350, 2016 WL

3747222, *4 (S.D. Tex. 2016) (“[t]he Court agrees that Plaintiff’s discovery requests ‘broadly

seek any and all information necessary for Plaintiffs to establish their cause of action which is

manifestly improper.’”); Philadelphia Newspapers, Inc. v. Gannett Satellite Information

Network, Inc., Case No. 98-cv-2782, 1998 WL 404820, at * 2-3 (E.D. Pa. 1998) (denying motion

for expedited discovery where movant’s discovery requests were overly broad and not

reasonably tailored to the specific issues to be addressed at the preliminary injunction hearing).

Where the issues presently before the Court on Plaintiffs’ motion for preliminary injunction are

Plaintiffs’ standing and their likelihood of success establishing that the DACA policy was

unlawful, the proffered testimony of Saldaña, Legomsky, and Kerlikowske is not reasonably

tailored to the specific issues to be addressing the preliminary injunction motion.

    •    Ms. Saldaña’s testimony would merely provide background regarding the policy
         motivations for DACA. Dkt. No. 91. at 3 (“Ms. Saldaña will testify how, in order
         to fulfill its mission with limited resources, DHS prioritizes the investigation and
         removal of, among others, non-citizens who post a danger to national security or
         public a risk to public safety; recent illegal entrants; and non-citizens who are
         fugitives or otherwise obstruct immigration controls, the role of DACA within this
         prioritization, and the impact of DACA on ICE activities.”).

3
  Federal Defendants do not rely on the Department of Homeland Security’s Tohuy regulations in
support of this opposition, although the protections provided by those regulations should guide
this Court in issuing a limiting order regarding the scope of deposition testimony if it permits any
of the requested depositions to go forward. Additionally, Federal Defendants note that 18 U.S.C.
§ 207 may also bar the testimony of Mr. Legomsky if he is not properly designated as an expert.
Even if he is designated as an expert, Federal Defendants argue that same lack of good cause to
warrant his deposition under early and expedited discovery applies to a court order waiving the
section 207 prohibition.


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    •    Mr. Kerlikowske’s testimony would similarly relate to a broad discussion of the
         policy motivations for DACA rather than the specific issues now before the Court.
         Id. at 4-5 (“Mr. Kerlikowske will provide his expert opinion that DACA allows
         CBP to more efficiently identify non-citizens who are not a priority for removal
         and allows individual CBP agents to better concentrate their limited enforcement
         efforts on those individuals who do pose a threat to national security, border
         security and public safety. Mr. Kerlikowske will further testify that DACA
         improves national security, border security and public safety by providing front line
         law enforcement personnel with documentation from vetted individuals who do not
         pose a threat to public safety or border security and allowing agents to return more
         quickly to duties that have a higher priority.”).4

    •    Mr. Legomsky’s testimony would only relate to background regarding USCIS’s
         mission and resource constraints, Defendant-Intervenors have also failed to show
         how his testimony relates to Plaintiffs’ motion for preliminary injunction. Id. at 4
         (“Mr. Legomsky will testify regarding the mission of USCIS to adjudicate
         applications for visas, deferred action, employment authorization documents,
         adjustment of status and citizenship as well as the circumstances under which
         USCIS register, vets and grants employment authorization to individuals present in
         the U.S. without authorization. Mr. Legomsky will further testify how, in order to
         fulfill its mission with limited resources, DHS prioritizes the investigation and
         removal of non-citizens, the role of DACA within this prioritization, and how
         USCIS implemented DACA in furtherance of DHS’s mission and priorities.”).5

Accordingly, the Court should deny Defendant-Intervenors’ motion with regard to Ms. Saldaña

and Kerlikowske because their testimony is not reasonably tailored to the specific issues to be

addressed in Plaintiffs’ motion for preliminary injunction.

         Additionally, given the lack of specificity of the proposed testimony of Saldaña,

Legomsky, and Kerlikowske, it is unnecessary and unduly burdensome for Federal Defendants to

have to defend against potential testimony, all or part of which may be privileged, may reveal



4
 Federal Defendants also fail to see how Mr. Kerlikowske’s testimony regarding these broad
policies would qualify as expert testimony under Fed. R. Evid. 702.
5
 Federal Defendants have similar concerns regarding Mr. Legomsky’s proposed qualification as
an expert under Fed. R. Evid. 702. Notably, opinions on the law do not require an expert. See. e.g.,
Burkhart v. Washington Metro. Area Transit Auth., 112 F.3d 1207, 1213 (D.C. Cir. 1997) (“[e]ach
courtroom comes equipped with a ‘legal expert,’ called a judge . . . .”); Nguyen v. Excel Corp., 197
F.3d 200 (5th Cir. 1999).


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classified information or records compiled for law enforcement purposes, or may compromise an

ongoing law enforcement investigation. These concerns are particularly relevant where Defendant-

Intervenors report that Ms. Saldaña and Mr. Legomsky will testify regarding enforcement

prioritization, Dkt. No. 91 at 3-4, and Mr. Kerlikowske will testify regarding that purported impact

of DACA on national security, border security, and public safety. Id. at 5. The potential for such

testimony to call for the disclosure of information that falls within the deliberative process or law

enforcement privileges is not warranted at this time. The testimony of Mr. Legomsky also presents

the larger issue of when the testimony of an agency’s former chief counsel would not be subject

to work product or attorney-client privileges. See, e.g., Department of Interior v. Klamath Water

Users Protective Ass'n, 532 U.S. 1, 8 (2001) (“[w]ork product protects ‘mental processes of the

attorney. . .”) (citations omitted); Nguyen v. Excel Corp., 197 F.3d 200, 210 (5th Cir. 1999)

(affirming finding that disclosure of attorney mental impressions and opinions would contravene

public policy); Theriot v. Par. of Jefferson, 185 F.3d 477, 491 (5th Cir. 1999) (“Generally, federal

courts have disfavored the practice of taking the deposition of a party’s attorney; instead, the

practice should be employed only in limited circumstances”).

       Finally, Defendant-Intervenors fail to demonstrate that the testimony they seek through

these depositions is unavailable via other means. St. Louis Grp., Inc., 275 F.R.D. at 240;

Muhammad v. Ness, 47 F.3d 427, 1995 WL 71394, *2 (5th Cir. 1995), citing Fed. R. Civ. P.

26(b)(2) (“A district court may limit discovery if the information sought is duplicative,

unreasonably cumulative, or when the burden of discovery outweighs the likely benefit of the

information sought.”). Indeed, even if the Court finds that testimony regarding the background of

the DACA policy is sufficiently tied to Plaintiffs’ motion for preliminary injunction, Defendant-

Intervenors do not identify why this background is not available from the sixty other exhibits on




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which they intend to rely – which include the prior depositions and testimony of federal

government employees, and a statement of Mr. Legomsky to the U.S. Congress, to which Federal

Defendants do not object. See Exhibit A, Defendant-Intervenors’ Exhibit List. Defendant-

Intervenors’ proposed 30(b)(6) depositions present this same problem. The proposed 30(b)(6)

deposition of a representative from the NCISC, USCIS’s union, seeks information regarding the

criteria for consideration of DACA requests and USCIS management practices. Dkt. No. 91 at 6.

However, the Court already ordered Federal Defendants to respond to Plaintiffs’ third discovery

request for broad information and documents regarding the DACA process, and Defendant-

Intervenors deposed former NCISC president Mr. Palinkas on June 19, 2018, and questioned him

regarding USCIS management practices.6 Additionally, Defendant-Intervenors’ proposed 30(b)(6)

deposition of a USCIS official, see Exhibit B, closely mirrors the interrogatory and production

requests already ordered by the Court, and for which responsive testimony is available in the prior

declarations and testimony identified by Defendant-Intervenors. It would be unduly burdensome

to require Federal Defendants to respond to Defendant-Intervenors’ broad discovery requests while

simultaneously preparing a government official for a 30(b)(6) deposition that seeks the same

information. See, e.g., Fed. R. Civ. P. 26(b)(2).

       Federal Defendants have again conferred with Defendant-Intervenors in an effort to limit

the scope of this opposition; however, Defendant-Intervenors have indicated they will not

withdraw any of their proposed witnesses, who Plaintiffs still intend to depose.




6
  Additionally, it would be inappropriate to serve Defendants with a 30(b)(6) deposition notice
directed to the NCISC, over which Defendants have no control or custody.


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                                      CONCLUSION

       The Court should deny Defendant-Intervenors’ fourth motion for discovery.

Dated: June 22, 2018                       Respectfully submitted,
                                           CHAD A. READLER
                                           Acting Assistant Attorney General
                                           Civil Division
                                           BRETT A. SHUMATE
                                           Deputy Assistant Attorney General
                                           WILLIAM C. PEACHEY
                                           Director, Office of Immigration Litigation
                                           District Court Section

                                           /s/ Jeffrey S. Robins
                                           JEFFREY S. ROBINS
                                           Attorney-in-Charge
                                           Assistant Director
                                           U.S. Department of Justice, Civil Division
                                           Office of Immigration Litigation
                                           District Court Section
                                           P.O. Box 868, Washington, DC 20044
                                           Telephone: (202) 616-1246
                                           Facsimile: (202) 305-7000
Attorneys for Federal Defendants           jeffrey.robins@usdoj.gov




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                                   CERTIFICATE OF SERVICE


          I certify that on June 22, 2018, this document was electronically filed with the Clerk of

the Court using the CM/ECF system, which will send notification of such filing to all counsel of

record.

                                                        /s/ Jeffrey S. Robins
                                                        JEFFREY S. ROBINS




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